            Case 1:22-cr-00270-CJN Document 9 Filed 09/01/22 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:22-cr-270 (CJN)
       v.                                    :
                                             :
LANDON MANWARING,                            :
                                             :
               Defendant.                    :


            JOINT RECOMMENDATIONS FOR CONDITIONS OF RELEASE

       On August 26, 2022, during the defendant’s initial appearance and plea agreement hearing,

the parties agreed that pre-trial detention would be inappropriate for this case. Nevertheless, the

Court did not set conditions of release at that time because the Pre-Trial Services Agency for the

District of Columbia (“PSA”) had not had adequate time to review the case and fashion its

recommendations for the Court. Accordingly, the Court directed the parties to confer with each

other and the PSA concerning appropriate conditions and provide the Court with their respective

positions no later than September 2, 2022.

       The parties and the PSA have conferred as directed. The parties concur with the PSA’s

recommendations for conditions of release and jointly respectfully request that the Court impose

them. Those recommended conditions are as follows:

            1. The defendant may live in the District of Utah and receive courtesy supervision

               by the U.S. Probation Office for the District of Utah. The defendant must report

               as directed and comply with any and all conditions as directed in the supervising

               jurisdiction;

            2. The defendant may not possess a firearm, destructive device, or other weapon;
Case 1:22-cr-00270-CJN Document 9 Filed 09/01/22 Page 2 of 3




3. The defendant must report, as soon as possible, to the Pretrial Services office or

   supervising officer, every contact with law enforcement personnel, including

   arrests, questioning, or traffic stops;

4. The defendant may not use or illegally possess a narcotic drug or other controlled

   substance, as defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

   practitioner;

5. The defendant may not use alcohol excessively;

6. The defendant may only travel within the District of Utah, with the exception that

   the defendant may travel to the District of Columbia for Court business.

   Otherwise, the Court must approve all other travel;

7. The defendant must stay out of the District of Columbia except for court or PSA

   business.

8. The defendant must surrender any passport(s) to the U.S. Probation Office for the

   District of Utah;

9. The defendant may not obtain a passport or other international travel document;

   and

10. Within one business day of the Court issuing conditions of release, the defendant

   must contact the PSA at (202) 442-1000 in order to be interviewed.



                                   Respectfully submitted,

                                   MATTHEW M. GRAVES
                                   UNITED STATES ATTORNEY


                           By:     /s/ Michael M. Gordon__
                                   Michael M. Gordon

                                      2
Case 1:22-cr-00270-CJN Document 9 Filed 09/01/22 Page 3 of 3




                           Assistant United States Attorney
                           FL Bar No. 1026025
                           601 D Street, N.W.
                           Washington, DC 20530
                           Michael.Gordon3@usdoj.gov
                           (813) 274-6370




                              3
